    Case 2:23-mj-00317-PK Document 1 Filed 04/07/23 PageID.1 Page 1 of 4




TRINA A. HIGGINS, United States Attorney (#7349)
MARIA D. MOOERS-PUTZER, Assistant United States Attorney (#14730)
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Telephone: (801) 524-5682
Email: Maria.Mooers-Putzer@usdoj.gov

                        IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                      Case No. 2:23-mj-00317 PK

          Plaintiff,                             COMPLAINT

          vs.

  JAVIER CATALAN BAHENA,                         Judge Paul Kohler

          Defendant.


        Before the Honorable Paul Kohler, United States Magistrate Judge for the District

of Utah, appeared the undersigned, who on oath deposes and says:

                                        COUNT I
                                   18 U.S.C. § 922(g)(5)
                            (Alien in Possession of a Firearm)

        On or about between February 16, 2023 and March 16, 2023, in the District of

Utah,

                             JAVIER CATALAN BAHENA,




                                             1
    Case 2:23-mj-00317-PK Document 1 Filed 04/07/23 PageID.2 Page 2 of 4




the defendant, knowing that he was an alien illegally and unlawfully in the United States,

did knowingly possess a firearm, that is a Beretta M9, and that firearm was in and

affecting commerce; all in violation of 18 U.S.C. § 922(g)(5).

      AFFIDAVIT IN SUPPORT OF COMPLAINT AND ARREST WARRANT

      This complaint is based on the following information:

   I, Oscar Deleon-Palencia, being first duly sworn, depose and say.

1. I am a Task Force Officer (TFO) with the Bureau of Alcohol, Tobacco, Firearms

   and Explosives (ATF) and a Detective with the West Valley City Police

   Department. I have been with West Valley since June of 2016. The information

   contained in this complaint is based on an investigation conducted by your affiant

   along with other ATF Agents, Task Force Officers, and officers from the West

   Valley City Police Department (WVCPD).

2. On March 16, 2023, two individuals who drove from Salt Lake City, UT were selected

   for an inspection by the Eagle Pass Border Patrol Officers at the U.S. Customs and

   Border Protection Eagle Pass Border Patrol Station located at 2285 Del Rio Blvd, Eagle

   Pass, TX. From the inspection, officers discovered twenty (20) long guns, fourteen

   (14) handguns, sixty-eights (68) magazines with assorted ammunition all hidden inside

   three speaker boxes. In an interview with the two drivers, they told officers that two

   individuals, who reside in Utah, had instructed and paid them to ship the speaker boxes

   to Mexico. The drivers stated they had transported speaker boxes on five previous

   occasions from these same two individuals to Mexico.

                                            2
    Case 2:23-mj-00317-PK Document 1 Filed 04/07/23 PageID.3 Page 3 of 4




3. ATF agents researched the phone numbers associated with the individuals who had paid

   for the shipping of the speaker boxes. Based on this research, agents were able to

   identify the individuals as JAVIER CATALAN BAHENA. and E.M. CATALAN

   BAHENA and E.M. are aliens who are not lawfully in the United States and are

   therefore restricted people. Based on a records check from U.S. Immigration and

   Customs Enforcement, CATALAN BAHENA is a citizen of Mexico and has been

   encountered at the border on March 8, 2007 and March 11, 2007 and was granted

   Voluntary Returns to Mexico. Since his voluntary returns, immigration databases have

   no other information including status application or relief associated with CATALAN

   BAHENA.

4. ATF agents investigated this incident through a database that allows law enforcement

   to track gun histories including the purchase and potential movement of firearms using

   serial numbers or other identifiers and also through the collection of ATF form 4473s

   from multiple Federal Firearms Licensees (FFLs). A firearms transaction record or

   ATF form 4473 is a form prescribed by the ATF which is required to be completed

   when a person proposes to purchase a firearm from an FFL. The database revealed that

   twenty-three (23) of the thirty-four (34) firearms seized were purchased by ALVARO

   MARTINEZ. CATALAN BAHENA is MARTINEZ’s uncle. On February 16, 2023,

   MARTINEZ used CATALAN BAHENA’s credit card to pay for a Beretta M9. On each

   4473, MARTINEZ wrote the answer “Yes” for question 21a, “Are you the

   transferee/actual buyer of the firearm(s) listed on the form and any continuation

                                           3
    Case 2:23-mj-00317-PK Document 1 Filed 04/07/23 PageID.4 Page 4 of 4




   sheet(s)?” MARTINEZ provided the firearm to CATALAN BAHENA.

5. On April 5, 2023, officers arrested MARTINEZ and interviewed him. Post-Miranda,

   MARTINEZ admitted that he would purchase firearms for CATALAN BAHENA and

   CATALAN BAHENA would give him cash or let MARTINEZ use his credit card.

   Other times, CATALAN BAHENA would ask MARTINEZ to buy a firearm for him

   and MARTINEZ would tell him that he already had the type of firearm that CATALAN

   BAHENA was looking for and CATALAN BAHENA would take the firearm.

   MARTINEZ provided CATALAN BAHENA with firearms from approximately

   December 2021 to March 2023.

     Based on the foregoing information, your affiant respectfully requests that a warrant

of arrest be issued for JAVIER CATALAN BAHENA for violations of 18 U.S.C. §

922(g)(5).
OSCAR DELEON PALENCIA   Digitally signed by OSCAR DELEON PALENCIA
                        (Affiliate)
(Affiliate)             Date: 2023.04.07 14:10:30 -06'00'


Oscar Deleon-Palencia
Detective, West Valley City Police and Task Force Officer, ATF

SUBSCRIBED AND SWORN to before me this 7th day of April, 2023.


PAUL KOHLER
United States MagistrateJudge

APPROVED:
TRINA A. HIGGINS
United States Attorney
                        Digitally signed by Maria Mooers-
Maria Mooers-Putzer Putzer
                        Date: 2023.04.07 13:48:24 -06'00'
MARIA D. MOOERS-PUTZER
Assistant United States Attorney

                                                                    4
